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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

Plaintiff,
V. Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,

an individual and officer; and
DOES 1-50,

Defendants.

DECLARATION OF JESSE A. BOYD IN SUPPORT OF PLAINTIFF’S MOTION TO
COMPEL DISCOVERY FROM DEFENDANT
MEOW WOLF, INC.

I, Jesse A. Boyd, declare:

1. I am an attorney duly licensed to practice law before the United States District
Court for the District of New Mexico. I am an attorney of record for Plaintiff Lauren Adele Oliver
in the above-captioned matter. I have personal knowledge of the facts contained herein and could
testify competently if called upon to do so.

De Attached hereto as Exhibit A is a true and correct copy of a profile page for Vince
Kadlubek that was available for public view and download as of February 16, 2021 at

https://linkedin.com/in/vince-kadlubek-97947649, and which I downloaded on February 16, 2021.

 

 

 

x, Attached hereto as Exhibit B is a true and correct copy of portions of Plaintiff's
Objections and Responses to Defendant Vince Kadlubek’s First Set of Interrogatories to Plaintiff
Lauren Oliver, and associated verification, which were timely served on defendants in this matter,

and which have been highlighted to identify Plaintiff's responses pertinent to the instant motion.

DECLARATION OF JESSE A. BOYD IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL DISCOVERY
FROM DEFENDANT MEOW WOLF, INC.
Page 1of3
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4. Attached hereto as Exhibit C is a true and correct copy of Brendan L. Smith,
Interactive Art Center Meow Wolf Is Forging a New Business Model for Artists, HYPERALLERGIC,
July 25, 2017, which was downloaded from the Hyperallergic website by Plaintiff or her counsel
on August 20, 2020. As of February 18, 2021, the article remained available for public viewing

at https://hyperallergic.com/392154/interactive-art-center-meow-wolf-is-forging-a-new-business-

 

model-for-artists/.

5. Attached hereto as Exhibit D is a true and correct copy of United States Securities
and Exchange Commission, Form D, Notice of Exempt Offering of Securities by Meow Wolf,
Inc., signed by Vince Kadlubek, dated May 8, 2019, available at
https://sec.report/Document/0001694455-19-00000l/primary_doc.html, which I downloaded on

February 16, 2021.

 

6. Attached hereto as Exhibit E is a true and correct copy “Meow Wolf — Austin”

filing with the S.E.C., available at https://sec.report/Document/0001670254-17-

 

000178/document_17.pdf, which I downloaded on February 18, 2021.

 

i Attached hereto as Exhibit F is a true and correct copy of “2019 Artist Bonus
Payment Program Agreement,” which Plaintiff received from Meow Wolf on or around July 11,
2019,

8. Attached hereto as Exhibit G is a true and correct copy of a letter from my office to
Defendants’ counsel, transmitted on or about January 12, 2021.

9. Attached hereto as Exhibit H is a true and correct copy of a letter from Defendants’
counsel’s office received by my office in response to the January 12, 2021 letter noted above.

10. Attached hereto as Exhibit I is a true and correct copy of an email exchange between
my office and Defendants’ counsel’s office in this matter.

At, Attached hereto as Exhibit J is a true and correct copy of an email exchange
between my office and Defendants’ counsel’s office in this matter.

12. I have directed that pertinent portions of the Deposition of Kate Lesta, Oct. 8, 2020,
shall be lodged with the court for in-camera review pursuant to Paragraph 11, sub. (b) of the

DECLARATION OF JESSE A. BOYD IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL DISCOVERY

FROM DEFENDANT MEOW WOLF, INC.
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protective order entered in this action (D.E. 56). Along with their lodging with the court, those

portions of said deposition shall be served upon counsel for Defendants, but will not be filed.

I declare, under penalty of perjury, that the forgoing is true and correct. Executed on

February 22, 2021.

By:___/s/ Jesse A. Boyd
JESSE A. BOYD

DECLARATION OF JESSE A. BOYD IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL DISCOVERY
FROM DEFENDANT MEOW WOLF, INC.

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EXHIBIT A
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Contact Vince Kadlu bek

www.linkedin.com/in/vince- Founder and Director at Meow Wolf
kadlubek-97947649 (LinkedIn)

Leadership
I’ve always loved creating cool spaces and I’ve always believed in
y y

artists. What started years ago as a bunch of kids messing around
in living rooms has transformed into an indescribable 20,000 sq

ft. immersive art experience. | am a Co-founder and a Director

of Meow Wolf, an art collective that has become a remarkable
experiential arts company. | created the business plan for Meow
Wolf's House of Eternal Return in Santa Fe New Mexico, which has
seen unprecedented success. | raised a Series A that pushed Meow
Wolf towards our newest experiences, Meow Wolf Vegas and Meow
Wolf Denver.

Management

Strategic Planning

This year | launched my own consulting agency, Spatial Activations,
with many amazing programmers and producers and creatives
across industries.

| like turtles.

Experience

Meow Wolf
13 years

Founder and Director
November 2020 - Present (4 months)

Executive Advisor
November 2019 - November 2020 (1 year 1 month)

Currently developing Meow Wolf's 5-year vision and advising our Officer

group. Member of Meow Wolf's BOD.

Interested in location-based experience movement, art, mixed reality, and nu-

brands!

 

Pane 1 nf ?
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Cofounder and CEO
2008 - November 2019 (11 years)

Meow Wolf
New Mexico

Education

Dropout
Failure, Life - (2000 - 2026)

 

Pane 3 nf?
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EXHIBIT B
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

Plaintiff,
VS. Case No. 1:20-CV-00237-KK-SCY
MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,
Defendants.
OBJECTIONS AND RESPONSES TO DEFENDANT VINCE KADLUBEK’S
FIRST SET OF INTERROGATORIES TO PLAINTIFF LAUREN OLIVER
Defendant Vince Kadlubek, pursuant to Federal Rules of Civil Procedure 26 and 33, hereby
requests that Plaintiff Lauren Oliver answer the following interrogatories, separately and fully in

writing, under oath, and based on the facts and information available to Plaintiff, her attorneys, or

her agents, within thirty (30) days of receipt.

DEFINITIONS AND INSTRUCTIONS
Unless otherwise indicated, the following instructions and definitions shall be applicable to these

Interrogatories:

A. The words “You” and “Your” refer to Lauren Adele Oliver, the Plaintiff in this

action, and her agents, attorneys, and representatives.

B. “Meow Wolf’ means Meow Wolf, Inc., a Defendant in this action, both before and

after incorporation, including without limitation other entities that have done business as Meow
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INTERROGATORY NO. 3: Describe in detail any promise or offer Meow Wolf or Vince
Kadlubek made to you that you allege in this lawsuit relating to profit sharing, revenue share,
equity, ownership interest, or other financial interest or contingent compensation, including
without limitation:

a. who made the promise or offer,

b. the date,

c. the medium in which it was communicated,

d. every term of the promise or offer;

e. every witness to the promise or offer, and

f. identify each and every document reflecting the promise or offer.

ANSWER:

Plaintiff objects to this interrogatory as vague, overbroad, and compound. Plaintiff
further objects that this is an interrogatory more appropriately propounded, at least jointly, by
Defendant Meow Wolf. Without waiving these objections, and subject thereto, and to the extent
Plaintiff understands the interrogatory, Plaintiff responds as follows:

In late 2014, Plaintiff was approached by Caity Kennedy and encouraged to submit a
proposal for a new Meow Wolf venture, which would eventually become HoER. Plaintiff had
participated in prior Meow Wolf projects, as far back as 2008, and understood Meow Wolf to be
a collective. At the time Kennedy sought the proposal from Plaintiff, she never indicated Meow
Wolf's status as a collective had changed, or that HoOER would be anything other than a venture
of that Meow Wolf collective.

After submitting a proposal for the installation of Plaintiff's flagship art project, Ice

Station Quellette (“ISQ”), at Kennedy’s urging, Plaintiff received what appeared to be a form
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email, with a significant typo, from Kadlubek on April 2, 2015 stating that Plaintiff would retain
ownership of the intellectual property associated with her installation and receive an artist
revenue share stipend, That email also indicated that a contract would be forthcoming, and
Kadlubek was “excited to work with [Plaintiff].” Plaintiff replied by email, showing her own
excitement to work with Meow Wolf, and at the prospect of reviewing a “contract.” After not
receiving a contract for two weeks, Plaintiff sent an email to Kadlubek requesting that one be
forwarded to her. No response to that email was received, and Plaintiff was not presented with a
written contract covering her relationship with Meow Wolf or her participation in HoER prior to
HoER’s opening in March of 2016.

At the time of her exchange with Kadlubek in April of 2015, Plaintiff expected HoER to
be similar to the Meow Wolf collective’s other projects, such as their Halloween Show in 2008,
in which she participated, and the later Omega Mart and Due Return projects. The initial
timeline supported this understanding, as Plaintiff was informed HoER had a completion
deadline of September 1, 2015. However, Plaintiff's understanding of the scope of the project
changed after she began regularly attending Meow Wolf meetings during the late Spring of 2015
through the beginning of installation in January of 2016. At those meetings, it became clear that
HoER would be a far more significant undertaking than prior Meow Wolf projects for all
involved. Unsurprisingly, the completion deadline was pushed back considerably. By Summer
of 2015, it was clear to Plaintiff her exchange with Kadlubek in April was a preliminary foray,
which had been replaced by a new compensation model being outlined at by Kadlubek’s at the
meetings. This conclusion was confirmed by Kadlubek’s representations, and the fact that

Plaintiff's request for a contract was never acted upon, or even mentioned. It was clear HOER
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was ballooning into a more complex project than apparently any of the parties had initially
anticipated, and most certainly, than Plaintiff had anticipated.

The mood at the meetings was that of a collective — all-for-one-and-one-for-all.
Kadlubek regularly mentioned an Artists Revenue Share as a mechanism by which Artists would
participate in Meow Wolf’s success, should it materialize. At no time did he revisit the subject
of the “contract” he mentioned in April to Plaintiff. Defendants’ promises of a big potential
upside of a “revenue share” made sense to Plaintiff at the time, given the large amount of labor,
money, and artwork she was being asked to invest in the project. During this period, Plaintiff
was also moving house, and she expressed to Caity Kennedy how daunting that process was to
do that while planning and working on a “permanent” ISQ at HoER. Ms. Kennedy, told Plaintiff
to “just ask for help,” because “‘you’re part of a collective now.”

At the meetings, Kadlubek began delivering an increasingly polished pitch to the
participating artists, including Plaintiff, which he repeated to the press. He portrayed Meow
Wolf as a collective, and HoER as a legacy arts complex serving the city of Santa Fe with a
grand exhibit generating ticket sales along the lines of Santa Fe’s Children’s Museum. The
space would also provide support to Santa Fe’s art community with studios and a maker’s space,
and arts programs benefiting local children and families. At no meeting Plaintiff attended did
Kadlubek reveal any ambitions to turn the Meow Wolf Collective into a profit-driven
corporation benefitting just a few insiders. Again, Kadlubek represented that, by investing their
labor, money, and artwork in HoER, participating artists were now part of the Meow Wolf
Collective and would all share in all the benefits of our collective efforts to make HoER a

success — financially and beyond.
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The artist compensation Kadlubek introduced at meetings was entirely different from the
terms of his April 2, 2015 email. Expressed to the entire group at these meetings, this new
compensation structure clearly superseded any prior expressions on the part of Kadlubek or
Meow Wolf. As stated during the meetings, participating artists/members of the Collective
would be paid an “Artist Revenue Share” in lieu of upfront payment for their artwork and
installation labor. The return on that investment would be based on an annual calculation,
proportional to how much income HoER generated each year, like a residual or royalty. Plaintiff
was familiar with this type of ‘sweat equity’ program as being common in profit-share models
and the entertainment industry. In order to recruit professional talent to put in the extraordinary
effort necessary to get off the ground, ventures regularly offer shares or some other back-end
equity mechanism in lieu of cash up front. Likewise, entertainment creatives regularly forgo full
up-front compensation in exchange for royalties or other residuals. Given the success of Omega
Mart and the Due Return, Plaintiff took Kadlubek’s words as credible. Kadlubek also did not
hide the fact that participating artists were taking a risk when investing all of their labor and art —
— if they built it, would people come? If not, Plaintiff understood she would not receive
compensation, as there would be no money to distribute.

Plaintiff had no reason not to trust this group of artists, whom she had known for many
years. In the absence of any contradictory specifics or additional conditions, and given Plaintiff's
background in tech and entertainment, the terms as presented made sense. Plaintiff accepted
Kadlubek’s assurances about Meow Wolf celebrating and safeguarding artists, and his explicit
guarantee of an artist revenue share and collective membership in exchange for Plaintiffs

investment.

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Plaintiff went to work on her end of the bargain, bringing her already-successful climate
change art platform to HoER. Plaintiff invested a great deal of labor (and sweat), money, and of
course artwork, in the Meow Wolf venture. Building off of years of prior work on ISQ and its
elements, Plaintiff designed her HoER installation during summer and fall 2015 and worked on-
site from January 2 to the March 16 opening in 2016. Plaintiff did this without compensation up
front, as a member in the Collective and in reliance on Defendants’ promise of an Artist Revenue
Share. She also understood herself to be one of the core members of Meow Wolf, based on her
participation in Meow Wolf projects from its early days, her long-standing relationship with
several members, and ISQ having been given an entire room — sandwiched between the rooms of
Benji Geary and Emily Montoya and Caity Kennedy. To bring the installation of ISQ to the
professional standards to which Plaintiff holds herself, she put everything she had into the work,
using her own money and resources to complete the project, and turning down lucrative work to
meet Defendants’ deadline to finish.

Throughout the leadup to and through installation, Meow Wolf avoided discussing, much
less presenting, Plaintiff with a written agreement. At the time, Plaintiff attributed Defendants’
failure to reduce what she believed to be the parties’ agreement to writing to the pressures
everyone was under leading up to, and during the overwhelming build.

Given the scope of the project as it developed and was realized, Plaintiff understood
Defendants’ representations to be an offer — Plaintiff could not be assured of any payment if the
venture was not a success, but if it were, she would proportionally share in that success through a
share of revenue and membership in the collective. At no time prior to the opening of HoER in
March of 2016 did Defendants indicate to Plaintiff that the promised revenue share would be

capped at an amount certain, or that her share of the success of Meow Wolf would be anything

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but proportional. While she was concerned about how her relationship with Meow Wolf would
be formalized, she had been friends with other Meow Wolf members for many years. She
understood they were working hard at getting HoER finished — everyone was. Plaintiff had
participated in and kept up with Meow Wolf's projects from the collective’s earliest days, and
considered herself to be friends with other core members, She trusted Defendants would make
good on their promises, and proceeded to invest everything she had into the installation of her
flagship ISQ, and its iconic Space Owl, at HoER.

Witnesses to Defendants’ representations include the dozens and dozens of people who
attended Meow Wolf meetings with Plaintiff during the Summer of 2015 through the opening of
HoER in March 2016. Plaintiff does not recall all of the persons who were present at any
particular one of the given meetings when Defendants made representations regarding artist
revenue share or collective membership. At this time Plaintiff believes the following people may

have information related to the representations outlined above:

Plaintiff

Kate Lesta

Vince Kadlubek
Caity Kennedy
Benji Geary
Emily Montoya
Sean Di Janni
Corvus Brinkerhoff
Matt King

Geoff Banzhof
Patrick Barrow
Brandon Behning
Karen Billard
Sarah Bradley
Cris Brodsky
Peter Chapman
Chris Clavio

Mat Crimmins
David Cudney
Sarah Dallas

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INTERROGATORY NO. 5: Describe in detail each interaction you had with anyone
related to Meow Wolf before it was incorporated, stating without limitation the dates, location or
medium of communication, all person(s) involved or who witnessed the interaction, the substance
of each interaction, any promises or offers made and all related terms conditions, and your response
to each such interaction.

ANSWER:

Plaintiff objects to this interrogatory as vague, overbroad, and compound. Plaintiff
further objects that this is an interrogatory more appropriately propounded, at least jointly, by
Defendant Meow Wolf. Without waiving these objections, and subject thereto, and to the extent
Plaintiff understands the interrogatory, Plaintiff responds as follows:

It is Plaintiffs understanding that Meow Wolf was “incorporated” sometime in 2017.
Plaintiff's interactions with Meow Wolf and individuals related to Meow Wolf dates back to
2008 when she participated in group art shows in Trinidad, Colorado, with fellow Santa Fe
artists, and met Matt King and Quinn Tincher. They became friends. Plaintiff met with Mr. King,
Mr. Tincher and other Meow Wolf members in their first art space on Second Street in Santa Fe,
and participated in Meow Wolf's first large exhibit on Halloween that year (Plaintiff painted a
large furry creature with antlers, surrounded by scary faces, on a wall — a photograph of which
has been produced), at the collective’s larger space across Second Avenue. Plaintiff met and
became friendly with Emily Montoya, Benji Geary, and many more of the people in the Meow
Wolf circle.

At the invitation of Mr. Tincher Plaintiff attended meetings and later created some

posters for Meow Wolf music shows. Plaintiff developed respect for the group on an artistic

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level. Plaintiff also bought some of Mr. Tincher’s art and attended many of their events. The
number of times and situations Plaintiff interacted with persons “related” to Meow Wolf is
impossible to catalogue entirely. Suffice it to say, Plaintiff regularly interacted with people
related to Meow Wolf between 2008 and 2014 at shows and social gatherings. These
interactions were varied and numerous. Plaintiff believes she attended most or all of Meow
Wolf's art shows in Santa Fe during this period, including, of course Due Return and Omega
Mart, and interacting with numerous people related to Meow Wolf, including Caity Kennedy,
Benji Geary, Emily Montoya, Brandon Behning, and Quinn Tincher. Plaintiff also regularly saw
persons related to Meow Wolf at other art events and parties, and simply living in and around
Santa Fe, which interactions are too numerous to catalogue.

Plaintiff believes in the Fall of 2014, at an opening at Offroad Gallery in Santa Fe, Caity
Kennedy and Matt King told her about the possibility of obtaining a huge art space, which would
become HoER. Kennedy and King told Plaintiff they were looking for artists to participate.

Plaintiff did not initially submit a proposal for the HoER. At the time, she was busy
developing work for her first Ice Station show at Philspace, which was opening in June. At the
same time, Plaintiff was also regularly travelling to Minnesota to care for her mother who was
suffering from Parkinson’s disease. In early 2015, Caity Kennedy reached out and asked
Plaintiff to submit a proposal, which Plaintiff ultimately did.

After Plaintiff's proposal was accepted, her interactions with persons related to Meow
Wolf are, again too numerous and varied to relay in the context of an interrogatory response.
Interactions included meetings, social gatherings, emails, and eventually, Slack exchanges. Fora

review of interactions, please see Plaintiff's answer to Interrogatory No. 3, above.

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Plaintiff does not recall meeting Vince Kadlubek before 2015. However, when he made
the promises outlined in Plaintiff's answers to Interrogatories No. 3 and No. 4, Plaintiff had no
reason to doubt him, or doubt Meow Wolf’s intentions, because of her long-standing relationship
with the Meow Wolf members as explained above, and what Plaintiff believed to be her and her
friends’ shared values surrounding art and art-making. At the time, Plaintiff was unaware of
Kadlubek’s criminal record,

In the Summer and Fall of 2015, Plaintiff had a lot of stuff to move at her house. She
expressed to Caity Kennedy how daunting that work was. Ms. Kennedy, told Plaintiff to “just
ask for help,” because “you’re part of a collective now.” This conversation added significantly
to Plaintiff's understanding that she was a full member of the collective, and its core team.
Further, by offering Plaintiff her own room off "Bermuda Portals," sandwiched between Benji
Geary and Emily Montoya’s room and Ms. Kennedy’s room, which represented a key location in
the exhibit, Plaintiff reasonably understood, not only that Meow Wolf respected her work, but
also that she was now one of Meow Wolf’s core members. That respect and position within the
collective were foundational to Plaintiff's decision to invest her labor, money, and artwork in
HoER, especially given the exceptional audience and critical acclaim the Ice Station project was
receiving for its appearances at Philspace and Santa Fe Institute.

Prior to Meow Wolf’s “incorporation,” nothing in Plaintiffs interactions with persons
related to Meow Wolf prepared her for the exchange she had on June 3, 2019, when she finally
and fully apprehended that the fun, industrious art collective she had joined, and in which she
had invested so much, had become a vehicle for a handful of privileged insiders to make

millions. Defendants were not just reneging on their promises to Plaintiff, they were

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unceremoniously attempting to terminate the relationship — and this only after they had extracted

all the value they could from ISQ and Plaintiff's iconic Space Owl.

INTERROGATORY NO. 6: Describe in detail the “Meow Wolf artists’ collective,”

 

referred to in paragraph 49 of your Complaint, listing each person in the collective, describing its
formation, all terms and conditions of the collective, and each person’s financial relationship to
the collective and when and where the terms of such financial relationship were determined and
agreed upon.

ANSWER:

Plaintiff objects to this interrogatory as vague, overbroad, and compound. Plaintiff
further objects that this is an interrogatory more appropriately propounded, at least jointly, by
Defendant Meow Wolf. Without waiving these objections, and subject thereto, and to the extent
Plaintiff understands the interrogatory, Plaintiff responds as follows:

Plaintiff's understanding of the Meow Wolf collective is based on interactions with
members dating back to 2008 when she participated in group art shows in Trinidad, Colorado,
with fellow Santa Fe artists, and met Matt King and Quinn Tincher. They became friends.
Plaintiff met with Mr. King, Mr. Tincher and other Meow Wolf members in their first art space
on Second Street in Santa Fe, and participated in Meow Wolf’s first large exhibit on Halloween
that year (Plaintiff painted a large furry creature with antlers, surrounded by scary faces, on a
wall — a photograph of which has been produced), at the collective’s larger space across Second
Avenue. Plaintiff met and became friendly with Emily Montoya, Benji Geary, and many more

of the people in the Meow Wolf circle.

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At the invitation of Mr. Tincher Plaintiff attended meetings and created some posters for
Meow Wolf music shows, Plaintiff developed respect for the group on an artistic level. Plaintiff
also bought some of Mr. Tincher’s art and attended many of their events. The number of times
and situations Plaintiff interacted with persons “related” to Meow Wolf is impossible to
catalogue entirely. Suffice it to say, Plaintiff regularly interacted with people related to Meow
Wolf regularly between 2009 and 2014 at shows and social gatherings. Plaintiff's interactions
with the Meow Wolf collective from late 2014 through June 3, 2019 are outlined in her
responses to Interrogatory Nos. 3-6 above.

Plaintiff's understanding is that the membership in the collective changed over time.
Members would participate in some projects, but not others. Up through installation and opening
of HoER in March 2016, Plaintiff was told she was a member of the collective and she was
entitled to a revenue share proportional with the success of the venture. In addition, the
prominence of her contribution to HoER showed that she was a member of Meow Wolf's core
team. Plaintiff was unaware of any underlying legal entity associated with Meow Wolf —
Defendants certainly never discussed LLCs or corporations in Plaintiffs presence — but
regardless of what entities may have laid claim to the collective, Plaintiff became an owner of
some reasonable share of the collective once the installation of ISQ at HoER was complete, just

as any other investor.

INTERROGATORY NO. 7: Describe in detail every attempt at commercialization,
reproduction, licensing, or merchandising you have made relating to the Space Owl or the Ice
Station Quellette outside of Meow Wolf, including for each effort any other persons or entities

involved, any written or oral agreements, and all payments received or due from such efforts.

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INTERROGATORY NO. 12: Identify every person who provided information or
assisted in answering these interrogatories, and state the relationship of each such person to you.

ANSWER:

Lauren Oliver, self.

Jesse A. Boyd; Andrew Chan; and Vince Ward, counsel.

INTERROGATORY NO. 13: If any document responsive to Defendants’ requests for
production or interrogatories no longer exists or is no longer in your possession, custody, or
control, for whatever reason, describe the document, including the date, title, author’s name and
position, intended and actual recipients, how and from whom you obtained the document, and the
subject matter of the document, and describe the circumstances surrounding the reason the
document no longer exists and the approximate date on which the document was destroyed,
discarded, or otherwise ceased to exist or pass out of your possession, custody, or control.

ANSWER:

Plaintiff is unaware of any responsive documents.

Dated: November 20, 2020 ERICKSEN ARBUTHNOT

By:/s/ Jesse A. Boyd
JESSE A. BOYD
2300 Clayton Road, Suite 350
Concord, CA 94520
(510) 832-7770
(510) 832-0102 facsimile
jboyd@ericksenarbuthnot
Attorneys for Plaintiff Lauren Adele Oliver

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

Plaintiff,

VS. Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,

an individual and officer; and
DOES 1-50,

Defendants.

PLAINTIFF’S VERIFICATION OF OBJECTIONS AND RESPONSES TO
DEFENDANT VINCE KADLUBEK’S FIRST SET OF INTERROGATORIES TO
PLAINTIFF LAUREN OLIVER

PLAINTIFF’S VERIFICATION OF OBJECTIONS AND RESPONSES TO DEFENDANT VINCE
KADLUBEK’S FIRST SET OF INTERROGATORIES TO PLAINTIFF LAUREN OLIVER

Oliver v. Meow Wolf, Inc., et al.
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VERIFICATION
STATE OF NEW MEXICO )
)
COUNTY OF BERNALILLO )

I, LAUREN ADELE OLIVER, verify under penalty of perjury that | have reviewed,
know, and understand the contents of the foregoing OBJECTIONS AND RESPONSES TO
DEFENDANT VINCE KADLUBEK’S FIRST SET OF INTERROGATORIES TO PLAINTIFF

LAUREN OLIVER, and that the statements therein are true to the best of my knowledge.

+a —>
( —P

LAUREN ADELE OLIVER

 
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EXHIBIT C
8/20/2020 Case 1:20-cv-002 3K Kir ohn Cent QEUMRR ts FErgidg HAR ARR AL H odPAGee4 Of 91

HYPERALLERGIC

ARTICLES

Interactive Art Center Meow Wolf Is
Forging a New Business Model for Artists

Meow Wolf has evolved from a ragtag group staging low-
budget shows into a multimillion-dollar operation that
employs more than 150 people.

Brendan L. Smith July 25, 2017

For many private arts venues, fundraising is a
hardscrabble ordeal, an unceasing quest to
scrape together enough grants and donations
to keep the lights on — which makes Meow
Wolf’s recent fundraising success all the more
remarkable.

 

House of Eternal Return, installation view
(photo by Kate Russell, all images courtesy
Meow Wolf)

Meow Wolf, a Santa Fe-based artist collective
that opened a very popular permanent art
installation in a former bowling alley in 2016,
raised more than $1 million in just two days on Wefunder, faster than any other
company using the crowdfunding website. More than 725 investors paid at least
$1,000 each to help fund the building of a new manufacturing facility in Santa Fe
and the hiring of a full-time team to build new installations as Meow Wolf plans
to expand to future locations, most likely in Austin, Denver, Houston, or Las
Vegas.

Meow Wolf co-founder and CEO Vince Kadlubek told Hyperallergic that he was
surprised by the quick response, especially since there is no way for investors to
sell their shares in a privately held company and no guarantee of any profits in the
future. “We know we have fans, and we have a good profile,” he said. “It’s a fairly

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Meow Wolf (photo by Kate Russell)

House of Eternal Return, installation view
(photo by Lindsey Kennedy)

proposition for investors, so the fact that so many people were willing to jump in
without a promise of a return really spoke volumes. We’re so grateful for the
support we have.”

Meow Wolf, which got its name from random words drawn from a hat by
collective members, also raised more than $7 million earlier this year through
more conventional investment rounds. It has become an employee-owned
company with a revenue-sharing plan for the more than 135 artists who created
the vast 20,000-square-foot permanent installation called House of Eternal Return,
in the process forging a path for a new business model to support artists: a hybrid
blend of art and entertainment that sells immersive experiences rather than
artwork. The installation has become a major tourist attraction in Santa Fe, seeing
more than 400,000 visitors and raking in $7 million in revenue in its first year.
The installation has broad appeal, attracting families and tourists who might

never step foot in a gallery or art museum. That success has stirred some
controversy in art circles about whether Meow Wolf is creating art or just
entertainment — as if there’s some reason visual art shouldn’t be just as
entertaining and profitable as film, music, or theater.

While

    

House of Eternal Return, installation view House of Eternal Return, installation view
(photo by Lindsey Kennedy) (photo by Lindsey Kennedy)

Hollywood has protected the rights of creatives through royalties, emerging visual
artists are often expected to work for free in exchange for “exposure,” and they

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don’t get royalties when their work is resold in

  

the future at higher values. “We’re building a
model that is more like the entertainment
model, so artists are able to participate in the
success that their creativity brings forth,”
Kadlubek said. “We feel like we’ve cracked an

egg, and I’m hoping that other artists take

House of Eterna! Return, installation view ; 3
(photo by Lindsey Kennedy) advantage of this model.

I drove to the House of Eternal Return in early
July, at the tail end of a dusty 700-mile road trip from the scorched earth of Las
Vegas to the stunning mountainous landscape of Santa Fe, which was a
homecoming of sorts. I lived in “The City Different” for seven years before
moving to Washington, D.C., in 2005, and I started making mixed-media artwork
there, collecting rusted bedsprings, auto parts, and metal scraps that had been
tossed decades earlier into rock-bottomed arroyos in the pifion-studded hills
around the city. I used to bowl and sing drunken karaoke in the bar at Silva Lanes
before Meow Wolf transformed it into something entirely different and

unexpected.

At the
House of
Eternal
Return, I
saw the
ticket

      

House of Eternal Return, installation view House of Eternal Return, installation view
(photo by Lindsey Kennedy) (photo by Lindsey Kennedy)

line

stretching out the door toward the giant metal
sculptures of a wolf and a robot smelling a
flower in the parking lot. Inside, the
installation opens in a Scooby Doo-ish
Victorian house, where a vaguely described
mystery involving a missing family has

 

unlocked supernatural portals into other

House of Eternal Return, installation view . .
(photo by Lindsey Kennedy) worlds. The theme is a very loose construct

that ultimately fails to contain the chaos
within the wondrous maze of rooms filled with

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a bizarre bounty of surprises. A 20-foot-tall furry, horned creature stares down
with hollow glowing eyes, a video projection of a falling man can only be glimpsed
inside a toilet, and a path winds through a forest of neon glowing trees. I walked
into a mastodon skeleton’s eerie green rib cage and played its bones like a
xylophone. Try doing that at MoMA.

As an arts writer, I initially started analyzing
the experience, but I quickly realized that was
a mistake. It’s more refreshing to just roll with
the weirdness and see what opening the next
door brings. House of Eternal Return is a
creative free-for-all, like falling into a dream or
sliding down a rabbit hole. It’s a psychedelic
trip that winds through narrow openings and
up twisting spiral staircases. My two sons, who
are five and seven, loved it, unlike some of our
art museum forays where they kept yanking
me toward the exit. They didn’t care if this
wild ride was art or entertainment or both —
and pretty soon I didn’t, either.

House of Eternal Return, installation view Over the past decade, Santa Fe’s art scene has
(photo by Lindsey Kennedy)

sharpened its edges considerably, moving
beyond a regional focus on Southwestern art,
Pueblo pottery, and the bland abstract paintings that the calcified galleries on
Canyon Road sell to rich tourists. Nine contemporary art galleries now fill the
new Railyard Arts District next to the contemporary art museum SITE Santa Fe.
The first museum in the nation dedicated to encaustic art opened this year with
an exhibition focused on climate change. And Meow Wolf has evolved from a
ragtag group of artists staging low-budget shows in rundown buildings into a
multimillion-dollar operation that employs more than 150 people, helping artists
thrive in a state hammered by the nation’s highest unemployment rate. It remains
to be seen whether their radically different art-as-entertainment model will
succeed outside the Land of Enchantment, but hundreds of investors are betting
on it.

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House of Eternal Return, installation view Christian Ristrow's Robot at Meow Wolf
(photo by Lindsey Kennedy) (photo by Kate Russell)

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House of Eternal Return, installation view
(photo by Lindsey Kennedy)

MORE FROM HYPERALLERGIC

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ME_W WEF

AUSTIN
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Isn’t it time for the next big thing to
emerge on Austin’s cultural landscape?

 

 

1970 1976

Armadillo World Headquarters opens its doors Austin City Limits debuts on PBS

AUSTIN
| city |

music and media co

 

972 1987

Willie Nelson moves to town SXSW debuts on 6th street

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1991 2002

Richard Linklater puts Austin on the filmmaking map Austin City Limits Festival debuts in Zilker Park

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1997 227?

Alamo Drafthouse opens its doors on Colorado St. What's next?

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WHAT IS MEOW WOLF?

Meow Wolf is the most exciting new
company in the rapidly growing
themed entertainment industry.

Meow Wolf began as an art collective and has grown into a
B-corporation ready to take on the world — creating unforgettable,
imaginative experiences that surprise and delight audiences of all

ages.

e Meow Wolf creates Immersive Storytelling Experiences told through
interactive, explorable spaces that are imagined, designed, and
constructed by artists.

e Engaging for audiences of (literally) all ages. Kids experience
an imaginative playground, adults experience sophisticated art,
architecture, and narrative experience.

© Premium viralimagery and video, shared millions of times online.
* Positive, magical, wonderful and playful vibes.

® Meow Wolf received the prestigious THEA Award for Best Customer
Immersion from the Themed Entertainment Association in 2017
alongside industry behemoths like Disney and Universal.

® Meow Wolf is a leader in the industry and has a dual bottom line for
profit and positive social impact.

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EXECUTIVE SUMMARY

Annual city visitors 1.5 million 24 million

Meow Wolf attendance 400K a. 1.0)

1.25 million»...

$6.8 million su $36 million yo cou:
Spent per visit $47 seria

EBITDA $1.7 million sciuoi $13 million prcecicn

ID STRENC ‘CON!
Smillion engagements, 160 millionimpressions
187,000 Facebook tikes
SERS el Te linis) lel Lee

3,400,000 website views

90% 5-star

$358 million in economic impact

Santa Fe EBITDA:
Company valuation as of May 2017:
Company annual revenue in 2025:

 

udiences from all walks of life are craving immersive, colorful,
magical, and unique out-of-home experiences. Escape rooms,
immersive theater, amusement parks, virtual reality, day-glo
bowling, and music festivals all point to a growing experience economy.

After opening 2016's House of Eternal Return in Santa Fe, Meow Wolf
emerged as the coolest, most unique brand of immersive experience in
the world. Meow Wolf welcomed 400,000 visitors in its first year in Santa
Fe, grossing $6.8 million in revenue, receiving overwhelmingly positive
reviews and ratings across all online review sites and social media.

Meow Wolf will open its follow-up immersive experience by Q4 of 2019
in a major U.S. city, welcoming 1.25M annual visitors and grossing $36M
in annual revenue. Three additional major-market exhibitions will open
by 2026.

To begin development and production on the next major market
experience, Meow Wolf has opened a fully-functioning manufacturing
facility headquartered in Santa Fe, NM. This team and facility, called
Meow Wolf Creative Studios, will generate new exhibition experiences
at House of Eternal Return in Santa Fe and temporary art experiences for
music festivals and touring exhibitions.

INVESTMENT OPPORTUNITY

Meow Wolf will be the #1 out-of-home entertainment attraction in Austin,
appealing to an all-ages demographic. The Austin market is 14x the size
of Santa Fe. Meow Wolf is raising a total of $35 million for Austin from:

25% Equity 25% Junior Debt 50% Senior Debt
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esau saa linesoi ABOUT MEOW WOLF

MEOW

WOLF BOARD OF DIRECTORS
llubek, Mi f

 

Founders and Managing Members of Meow Wolf.

Lowe) Ay N ar Tao eow Wolf's core team of officers delivers a balance of artistic
credibility, company culture, operational detail, business
development focus, ambitious vision, and fiscal responsibility. 6 of

Meow Wolf's 8 officers are also founding members of Meow Wolf, carrying

strong leadership of the company’s aesthetic and unique forms of process.

Additional business and financial strength was added to the core team in 2016
through CFO Drew Tulchin, (MBA from University of Washington, Founder of
UpSpring) and CBDO© Damian Taggart (Founder of Mindshare Labs).

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HOUSE OF ETERNAL RETURN - SANTA FE, NM

impressions in 12 months

npressions on Social Media

 

‘An immersive Twilight Zone."

-LA TIMES

"The House that Art, Fantasy,
and Mystery Built"

-NY TIMES

visits per month

 

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HOUSE OF ETERNAL RETURN - SANTA FE, NM

Che New dork Cimes
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@B tecnica CONDE NAST

 

"What would happen if, say,
Fantasia and Alice in Wonderland guardian Te ee
came to life"

‘ma Los Anacles Cimes

 
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SANTA FE REVENUE: FIRST YEAR

  
   
         
      
 

Special Events
$650,000

 

Passes

$275,000

REVENUE

BREAKDOWN
(ROUNDED TO NEAREST 1,000}

Total: $6,800,000

Gift Shop Sales
$625,000

  

Admissions

$5,250,000

 

ADMISSIONS BREAKDOWN
{ROUNDED TO NEAREST 1,000)

Total: $5,250,000

OPERATIONAL Costs: $5.1M

 

EBITDA:

$1.7M

 

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SANTA FE VS. AUSTIN COMPARISONS

AUSTIN

Population: 940K

Metro Population: 2M

City Visitors/Year: 24M
3-hour Drive Population: 16M
Median Age: 31

SANTA FE EXHIBITION NUMBERS AUSTIN EXHIBITION NUMBERS

Year 1 MW attendees: 1.25M (projected)
Year 1 Revenue: $36M (projected)

Spend per Customer: $29 (projected)
Op. Costs / Year 1: $23M (projected)
Year 1 EBITDA: $13M (projected)

 
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WHY AUSTIN MAKES SO MUCH SENSE

 
    
  
  
 

KEY MARKET COMPARABLES

Seaworld San Antonio = 2.3 million

 

San Antonio Zoo 1.1 million

   

 

Schlitterbahn 1.0 million

   

 

     
  

The Thinkery 500,000

 

ACL Festival 450,000

   

Pag Les le}

 

COLLABORATION & CONTRIBUTION

eow Wolf is excited about collaborating with Austin's deep
and diverse creative community. We love the city's reputation
as a leader in cultural trends, a place that thinks for itself, and
a population that engages eagerly in live music and entertainment

experiences.

We have already begun to connect with kindred spirits from Austin
creative organizations in all corners of the community -- art groups
like Big Medium and Blue Genie, event collaboratives like the Burning
Flipside crew and Maker Faire, theater groups like Fusebox and the Rude
Mechs, and maker hubs like the Austin Tinkering School, TechShop
and so many more. We love the talent, energy, and sense of community
in Austin,

Meow Wolf is also excited about our ability to be an impactful part of
the solution to many of Austin's urgent creative community needs,
as detailed in important policy papers like Mayor Adler's 2016 Omnibus
Resolution and the 2009 CreateAustin Cultural Master Plan.

MEOW WOLF’S IMPACT FOR AUSTIN CREATIVES:

* Living-wage jobs for local artists and makers

« Affordable creative space and creative hub space

« Asustainable business model for the local creative ecosystem

* Stronger connections between different sectors of the creative community
+ Increased access to cultural learning and creative education programs
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WHAT TYPE OF PROPERTY ARE WE LOOKING FOR?

eow Wolf currently operates out of a 30,000 square foot space in

the small market of Santa Fe. In order to accommodate demand

ina city the size of Austin, Meow Wolf will create a larger 100,000
square foot experience to allow for an enjoyable experience for customers
and sufficient throughput for the business.

An ideal home for Meow Wolf Austin is an adaptive reuse or a build-to-suit
structure that achieves a ceiling height of at least 30ft with easy access for
Austin residents, at least 500 parking spaces, and minimal impact on existing
residential neighborhoods located within a target development zone of the
City of Austin.

Meow Wolf is seeking a tenant-landlord relationship with a property developer
in Austin, capable of committing to a long-term, market-rate lease. With 1.25M
visitors projected annually, the property will become an attractive anchor fora
burgeoning destination with additional creative retail, F@B, nightlife and other
experience-economy activities.

In addition to Meow Wolf's world-class immersive exhibition, Meow Wolf
Austin will benefit fromm an on-site makerspace, a creative learning center,
an events space, creative food and retail options, a full bar, and collaborative

office spaces,

 

AUSTIN, THE PROPERTY AND THE PLAN

 
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PROJECTED REVENUE

400,000 410,000 _ 420,000 430,000 . 2,100,000

$7,200,000 $7,400,000 $7,600,000 $7,800,000 $38,000,000

$5,000,000 $5,100,000 $5,200,000 $5,300,000 $5,400,000 $26,000,000
EBITDA $2,200,000 $2,300,000 $2,400,000 $2,500,000 $2,600,000 $12,000,000

 

 

Financing Repayment $750,000 $750,000 $750,000 $750,000 $0 $3,000,000

Average Revenue/ Visit $18

Visits 1,250,000 1,300,000 1,400,000 1,540,000 1,700,000 7,190,000
"$36,000,000 $39,000,000 $43,400,000 $50,204,000 $57,800,000 $226,404,000
Expenses $23,400,000 $24,180,000 == $26,040,000 = $27,612,200 —S»=_$ 30,056,000 $131,288,200
EBITDA $12,600,000 $14,820,000 $17,360,000 $22,591,800 $27,744,000 $95,115,800
Financing Repayment —_—_$8,000,000 $8,000,000 $8,000,000 $8,000.000 $0 ~ $32,000,000
Profit Margin == (BBN 38% 40% 45% 48%

 

 

 

 

  

MEOW WOLF ANNUAL REVENUE KEY ASSUMPTIONS
Z 300 * First year projected 1.25 million MW attendees, increasing 5% a year
3 thereafter
% 260 ‘
= * Revenues rise with increase in attendance and average revenue per
2 200 visitor increases from value added experiences, more auxiliary services,
= ii and (later) ticket price increases
166 178M ;
« Profit margin in Austin is higher than Santa Fe due to larger size and
200 greater economy of scale; rises with improved operational efficiencies
« Expenses increase accounting for cost of living and adding cool new
50 - stuff each year
7.2M aim
iro * Expenses here EXCLUDE depreciation, taxes and interest payments
2017 2019 2021 2023 2025

* Debt is projected at $25 million. A mix of junior, senior and leasehold
improvements drawn down during construction 2017-2019. Principal
and interest repaid in 4 years from opening

TOTAL REVENUE
KEY MILESTONES

) Santa Fe Austin {) Denver LasVegas [ffl Los Angeles

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"We have an extraordinary opportunity right now to help
our arts community thrive - and to bring something special
to our City. Let's make sure that Meow Wolf's next immersive
installation is in Austin, TX."

- MAYOR STEVE ADLER

"Meow Wolf is the future of the future. This most extraordinary ree in ti
innovative space is about how when you and I come together, Sari tt ats em eb e)
anything is possible and everything is engaging.”

+ LOUIS BLACK (CO-FOUNDER, SXSW AND AUSTIN CHRONICLE)

"Meow Wolf is the perfect example of an economic
development projector Austin. If I were still working with
the City, this is the type of project that I would recommend
to Council - it provides jobs, affords an opportunity for Sibi esrsicts Moiipresbern clin ss hae naa
collaboration with the creative community and brings a
unique experience for both children and adults to explore. I
can’t wait to see Meow Wolf in Austin. "

SUE EDWARDS (FORMER ASSISTANT CITY MANAGER, CITY OF AUSTIN)

+ PETER ZANDAN, PH.D (GLOBAL VICE CHAIR, HILL+KNOWLTON STRATEGIES)

"Meow Wolf would be a wonderfully creative addition to Austin's
emerging art scene."

-MARGO SAWYER (PROFESSOR OF STUDIO ART: SCULPTURE +
EXTENDED MEDIA, UNIVERSITY OF TEXAS)

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Contact our executive team for more information: invest@meowwolf.com

 
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2019 Artist Bonus Payment Program Agreement

  

This document serves as a record of compensation associated with Meow Wolf's Artist Bonus Payment
Program and an Agreement to the terms of this program. This Agreement is made by and between Meow
Wolf Inc. (d/b/a Meow Wolf - hereafter “Meow Wolf’) and «Full_Name» (“Program Participant” or “Artist”.

RECITALS
Wherefore the Artist specified below has been selected to receive an Artist Bonus Payment from Meow
Wolf.
Wherefore, in fulfillment of the requirements of the Artist Bonus Payment Program (“Program”), Meow Wolf
and Artist must enter into an Artist Bonus Payment Agreement. This Agreement provides project data and
specifies the goals of Meow Wolf in dispersing Program Payments.
NOW THEREFORE in consideration of the above-recited facts, Artist agrees as follows:
Artist acknowledges and understands that any Bonus Payment made to the Artist is made at the absolute
discretion of Meow Wolf, and Artist is not entitled to any such payment pursuant to the Program. Bonus
Payments are made through electronic transfer or manual check.

Payment is made subject to the terms and conditions of the document “Meow Wolf Artist Bonus Program
Description’, a copy of which is attached for your reference.

Artist has read, understands and agrees to all terms and conditions of “Annex II — INTELLECTUAL
PROPERTY RELEASE AND ASSIGNMENT AGREEMENT ”. A copy of which is attached hereunder.

*** ARTIST NAME: «Full Name»
*“FINAL BONUS PAYMENT AMOUNT: $«Remaining_Balance_»
Written: «Written_Balance»

How would you like to receive your payment?
Have check sent by mail 0 Pick up check at Finance office 0

Artist Contact Information:

 

 

 

Street Address:

City: State: Zip:
Received By:

Artist Name (Signed): Date:

 

Artist Name (Printed):

 

Presented on behalf of Meow Wolf by:
Name (Signed): Date:

Name(Printed): Title:

 
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MEOW WOLF

ANNEX II
INTELLECTUAL PROPERTY RELEASE AND ASSIGNMENT AGREEMENT

  

This INTELLECTUAL PROPERTY RELEASE AND ASSIGNMENT AGREEMENT (this “Agreement”),
dated as of , 2019 (the “Effective Date”), is made by and between «Full Name»
(“Assignor”’), and Meow Wolf, Inc., a Delaware Public Benefit Corporation (“Company”).

WHEREAS, Assignor has provided services to Company either as an employee, consultant, or
volunteer and, in connection with such services, developed certain projects and works being used in
connection with the Company’s business (the “Engagement”); and

WHEREAS, in consideration of the Engagement and the Company’s Artist Bonus Payment
Program Agreement held by Assignor in connection with the execution hereof, the parties desire to
confirm that the results of the Engagement are and will be owned by Company.

NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which
is acknowledged, the parties agree, notwithstanding anything in any other agreement between the
Company and Assignor to the contrary, as follows:

ii. Definitions. As used in this Agreement, the term “Intellectual Property Rights” means all
trade secrets, copyrights, trademarks, mask work rights, patents and other intellectual property rights
recognized by the laws of any jurisdiction or country; the term “Copyright” means the exclusive legal
right to reproduce, perform, display, distribute and make derivative works of a work of authorship (as a
literary, musical, or artistic work) recognized by the laws of any jurisdiction or country; and the term
‘Moral Rights” means all paternity, integrity, disclosure, withdrawal, special and any other similar rights
recognized by the laws of any jurisdiction or country.

2. Assignment of Inventions. Unless Assignor has identified an Invention (as defined
below) as a “pre-existing work” on Exhibit A of an employment agreement with Company (if applicable),
Assignor irrevocably assigns and transfers to Company, all right, title and interest worldwide in and to all
trade secrets, inventions, mask works, ideas, processes, formulas, software in source or object code, data,
programs, other works of authorship, know-how, improvements, discoveries, exhibits, developments,
designs and techniques and any other proprietary technology and all Intellectual Property Rights made,
conceived, reduced to practice, or learned by Assignor, either alone or with others, either (i) during the
period of the Engagement (including prior to the date of this agreement hereof) or (ii) prior to or outside
the scope of the Engagement, in each case only to the extent such Intellectual Property is used or
incorporated in any aspect of the Company’s exhibitions and/or business in connection with Assignor’s
Engagement with the Company (collectively, “Inventions”).

To the extent required by applicable copyright laws, Assignor (with respect to any copyrightable
Inventions that are fixed in a tangible medium of expression as of the Effective Date), hereby assigns, and
agrees to assign in the future (when any copyrightable Inventions are first fixed in a tangible medium of
expression) to Company, Assignor’s copyright rights in and to such Inventions.

Any assignment of Inventions (and all Intellectual Property Rights with respect thereto)
hereunder includes an assignment of all Moral Rights. To the extent such Moral Rights cannot be
assigned to Company and to the extent the following is allowed by the laws in any country where Moral
Rights exist, Assignor hereby unconditionally and irrevocably waives the enforcement of such Moral
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Rights, and all claims and causes of action of any kind against Company or related to Company’s
business, with respect to such rights. Assignor further acknowledges and agrees that neither Assignor’s
successors-in-interest nor legal heirs retain any Moral Rights in any Inventions (and any Intellectual
Property Rights with respect thereto).

  

3: Ownership of Work Product. Unless Assignor has identified an Invention (as defined
below) as a “pre-existing work” on Exhibit A of an employment agreement with Company (if applicable),
Assignor agrees that Company will exclusively own all work product that is made by Assignor (solely or
jointly with others) within the scope of the Engagement (including prior to the date hereof), and Assignor
hereby irrevocably and unconditionally assigns to Company all right, title and interest worldwide in and
to such work product. Assignor acknowledges that all original works of authorship which are made by
Assignor (solely or jointly with others) within the scope of the Engagement (including prior to the date
hereof) and which are protectable by Copyright are “works made for hire,” pursuant to United States
Copyright Act (17 U.S.C., Section 101). If the original works of authorship are found not to be “works
made for hire,” then Assignor hereby irrevocably and unconditionally assigns to Company all right, title
and interest worldwide in and to such works of authorship.

4. Assistance. Assignor will assist Company in every proper way to obtain, and from time
to time enforce, United States and foreign Intellectual Property Rights and Moral Rights relating to
Inventions in any and all countries. To that end Assignor will execute, verify and deliver such documents
and perform such other acts (including appearances as a witness) as Company may reasonably request for
use in applying for, obtaining, perfecting, evidencing, sustaining and enforcing such Intellectual Property
Rights and the assignment thereof. In addition, Assignor will execute, verify and deliver assignments of
such Intellectual Property Rights to Company or its designee, including the United States or any third
party designated by Company. Assignor’s obligation to assist Company with respect to Intellectual
Property Rights relating to such Inventions in any and all countries will continue beyond the termination
of the Engagement, but Company will compensate Assignor at a reasonable rate after Assignor’s
termination for the time actually spent by Assignor at Company’s request on such assistance. In the event
Company is unable for any reason, after reasonable effort, to secure Assignor’s signature on any
document needed in connection with the actions specified in the preceding paragraph, Assignor hereby
irrevocably designates and appoints Company and its duly authorized officers and agents as Assignor’s
agent and attorney in fact, which appointment is coupled with an interest, to act for and on Assignor’s
behalf to execute, verify and file any such documents and to do all other lawfully permitted acts to further
the purposes of the preceding paragraph with the same legal force and effect as if executed by Assignor.
Assignor hereby waives and quitclaims to Company any and all claims, of any nature whatsoever, which
Assignor now or may hereafter have for infringement of any Intellectual Property Rights assigned under
this Agreement to Company.

5. Pre-existing IP. Assignor has not used or incorporated into any Inventions any of
Assignor’s Intellectual Property Rights not assigned to Company pursuant to this Agreement nor has
Assignor used or incorporated into any Inventions any intellectual property developed or own by any

third party.

6. Representations and Warranties. Assignor represents and warrants that: (a) Inventions
are original works of Assignor, (b) Assignor has the right and unrestricted ability to assign the ownership
of Inventions to Company as set forth in Section 2, and (c) neither the Inventions nor any element thereof
will infringe upon or misappropriate any copyright, patent, trademark, trade secret, right of publicity or
privacy, or any other proprietary right of any third party, whether contractual, statutory or common law.
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7. General Provisions. This Agreement (together with any agreement(s) between Assignor and the
Company in connection with the Engagement (such agreement(s), the “Original Agreement”’)) constitutes
the entire agreement between the parties with respect to the subject matter hereof and merges all prior and
contemporaneous communications. Except as set forth in this Agreement, all of the terms and conditions
of the Original Agreement (if applicable) shall continue in full force and effect. To the extent there is any
conflict between this Agreement and the Original Agreement (if applicable), this Agreement shall govern.
Notwithstanding the foregoing or anything in this Agreement to the contrary, the Company and the
Assignor agree that the treatment of Inventions as a “pre-existing work” on Exhibit A of an employment
agreement between Assignor and the Company (if any) will continue to be governed by such employment
agreement. This Agreement shall not be modified except by a written agreement dated subsequent to the
date of this Agreement and signed on behalf of the parties by their respective duly authorized
representatives. This Agreement shall be governed under the laws of the State of New Mexico without
regard to the conflict of laws provisions thereof. If any term of this Agreement is held invalid or
unenforceable for any reason, the remainder of the provisions shall continue in full force and effect, and
the parties shall substitute a valid provision with the same intent and economic effect. Assignor may not
assign any rights or obligations hereunder without the prior express written consent of Company.
Company may assign this Agreement or any rights granted hereunder without Assignor’s consent. Subject
to the above restrictions on assignment, this Agreement shall inure to the benefit of and bind the
successors and assigns of the parties. This Agreement may be executed in one or more counterparts, each
of which will be deemed an original, but which collectively will constitute one and the same instrument.

  

[Signature Page Follows]
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EW OF

IN WITNESS WHEREOEF, the parties have executed this Intellectual Property Release and Assignment
Agreement as of the Effective Date.

  

COMPANY:
MEOW WOLF, INC.

By:

 

Name:

 

Title:

 

Address:

ASSIGNOR:

«Full Name»
Name of Assignor (Please Print)

 

 

Signature

 

Title (if applicable)

Address:
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EXHIBIT G
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_ERICKSEND

Way) ee

ARBUTHNOT

Attorneys ai Law
2300 Clayton Road
Suite 350
Concord, California 94520
T: 510.832.7770
F: 510.832.0102

ericksenarbuthnot.com

CALIFORNIA
OFFICES:
Los Angeles
San Jose
Concord
Sacramento
Fresno
Bakersfield

Walnut Creek

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January 12, 2021

Via Electronic Communication
Benjamin Allison

Breanna Contreras

Bardacke Allison LLP

141 E. Palace Avenue, 2™ Floor
Santa Fe, New Mexico 98501
ben@bardackeallison.com
breanna@bardackeallison.com

 

 

Re: Oliver v. Meow Wolf, MW’s Discovery Responses
Dear Mr. Allison and Ms. Contreras,

This letter serves as our meet-and-confer regarding Defendant Meow
Wolf, Inc.’s (“MW”) responses (collectively, “Discovery Responses”) to
Plaintiff's Laura Oliver's (“Oliver”) first set of requests for production and
first set of interrogatories (collectively, “Discovery Requests’).

On July 9, 2020, Oliver propounded the Discovery Requests to MW. [D.E.
20, 21, 63, 64]. MW served the Discovery Responses on November 20,
2020. [D.E. 58, 63, 64].

The Court extended the deadline for the parties’ motion(s) to compel until
February 10, 2021. [D.E. 66].

MW's discovery responses identified below fail to provide any substantive
responses and rely on improper general objections and legal objections.

Accordingly, by close of business on January 22, 2021 (i.e. 5 p.m. PST),
please advise of your position regarding the deficiencies identified below
and/or provided amended responses.

MW’s Discovery Responses:

Discovery serves an important purpose in our adversarial system:
advancing the quest for truth. President & Fellows of Harvard Coll. v.
Elmore, 2016 U.S. Dist. LEXIS 49717, *2 (D.N.M. April 13, 2016) (J.
Khalsa) (discussing the work product privilege).

Pursuant to Federal Rule of Civil Procedure 33, a party may serve on any
other party interrogatories relating to any matter that may be inquired into
under Rule 26(b). Ortega v. N.M. Legal Aid, Inc., 2019 U.S. Dist. LEXIS
197593, *2 (D.N.M. Nov. 14, 2019) (J. Khalsa); Fed. R. Civ. P. 33(a)(2).

Similarly, a party may request that any other party produce designated
documents or electronically stored information ("ESI") in the other party's
possession, custody, or control that concern any matter within the scope
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of Rule 26(b). Ortega, 2019 U.S. Dist. LEXIS 197593 at *2; Fed. R. Civ. P. 34(a).

Rule 26(b), in turn, permits a party to obtain discovery regarding any nonprivileged matter that is
relevant to any party's claim or defense and proportional to the needs of the case. Ortega, 2019
U.S. Dist. LEXIS 197593 at *2; Fed. R. Civ. P. 26(b)(1); Employbridge, LLC v. Riven Rock
Staffing, LLC, 2017 U.S. Dist. LEXIS 11605, *5 (D.N.M. Jan. 26, 2017) (J. Khalsa).

Evidence is relevant if: (a) it has any tendency to make a fact more or less probable than it
would be without the evidence; and (b) the fact is of consequence in determining the action.
While relevancy in discovery is broader than that required for admissibility at trial, the object of
inquiry must have some evidentiary value to be discoverable. Driscoll v. Castellanos, 2020 U.S.
Dist. LEXIS 243615, *3-4 (D.N.M. Dec. 29, 2020) (J. Khalsa); Fed. R. Evid. 401.

Information within this scope of discovery need not be admissible in evidence to be
discoverable. Ortega, 2019 U.S. Dist. LEXIS 197593 at *2.

Factors the Court should consider in determining whether discovery is proportional to the needs
of the case include: the importance of the issues at stake in the action, the amount in
controversy, the parties’ relative access to relevant information, the parties' resources, the
importance of the discovery in resolving the issues, and whether the burden or expense of the
proposed discovery outweighs its likely benefit. Ortega, 2019 U.S. Dist. LEXIS 197593 at *2-3;
Employbridge, LLC, 2017 U.S. Dist. LEXIS 11605 at *5.

The court's responsibility, using all the information provided by the parties, is to consider these
factors in reaching a case-specific determination of the appropriate scope of discovery. Ortega,
2019 U.S. Dist. LEXIS 197593 at *3; Employbridge, LLC, 2017 U.S. Dist. LEXIS 11605 at *5;
Fed. R. Civ. P. 26(b)(1), 2015 Amendment, Advisory Committee Notes.

Deficiencies in MW’s Discovery Responses
As an initial matter, MW’s general objections are improper and should be deleted.

As a rule, a general objection to a request for production which does not identify the documents
to be withheld but states, for example, merely that the responding party objects to the
production of privileged documents is entirely inadequate. A response to requests for
production must clearly set forth the specifics of the objection and how that objection relates to
the documents being demanded. The burden is on the party resisting discovery to clarify and
explain precisely why its objections are proper. Ortega, 2019 U.S. Dist. LEXIS 197593 at *6-7
(striking general objections).

In addition, please note the following specific deficiencies contained in MW’s Discovery
Responses:
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Oliver’s Interrogatory No.: MW’s Discovery Responses and
Deficiency(ies):
As MW’s Response:
IDENTIFY all PERSONS that have held any | Meow Wolf objects to this interrogatory

ownership interest in MEOW WOLF from
January 1, 2008 to the present.

because the identities, home addresses and

telephone numbers of every person who has
held an ownership interest in Meow Wolf since
2008 has no relevance to any claim or defense
in this action. Meow Wolf further objects on the
grounds that the interrogatory is overbroad,
unduly burdensome and intrusive into personal
information without any corresponding benefit,
and not likely to lead to admissible evidence.

Deficiency(ies):

MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case as
Oliver's Complaint [D.E. 1] seeks (among
other relief) conveyance to Oliver of her
ownership interest in the Meow Wolf artists’
collective, to the extent title to that interest still
rests with Defendants. The _ identity of
individuals with an ownership interest in MW is
relevant to this claim.

 

 

2:

Describe the ownership interest in MEOW
WOLF held by each PERSON identified in the
immediately preceding Interrogatory No. 1,
including how each interest was acquired, the
investment made for each such interest, and
the amount of money received by each such
PERSON upon alienation of any portion of
their interest.

 

MW’s Response:

Meow Wolf objects to this interrogatory on the
grounds that the purchase and any sale price
of each owner's interest has no relevance to
any claim or defense in this action. Meow Wolf
further objects on the grounds that the
interrogatory seeks highly confidential and
intrusive information about persons not parties
to this action or concerned in it, which
confidential information is not relevant to any
claim or defense in the action and certainly not
proportional to the needs of the case. Meow
Wolf further objects on the grounds that the
interrogatory is overbroad and not likely to
lead to admissible evidence.

Deficiency(ies):

MW fails to provide any substantive response.

 

 
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The requested information is relevant and
proportional to the needs of the case as
Oliver's Complaint [D.E. 1] seeks (among
other relief) conveyance to Oliver of her
ownership interest in the Meow Wolf artists’
collective, to the extent title to that interest still
rests with Defendants. Information regarding
how individual acquired their interest in MW,
the investment made to acquire each such
interest, and the amount of money received by
each such individual upon alienation of any
portion of their interest are relevant to this
claim.

In addition, the Court entered a Protective
Order [D.E. 56] related to any claimed
confidential information or records.

 

 

3:

IDENTIFY all PERSON(S) who developed any
aspect of, and/or updated, MEOW WOLF'’s
website since January 1, 2014.

 

MW ’s Response:

Meow Wolf objects that this interrogatory is
overbroad because the names and home
addresses and telephone numbers of every
person who has worked on the Meow Wolf
website over more than six years are not
relevant to any claim or defense in this action
and not likely to lead to admissible evidence.
Meow Wolf further objects that identifying
them all would be unduly burdensome and not
proportional to the needs of the case.

Deficiency(ies):

MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case as
Olivers Complaint [D.E. 1] alleges MW’'s
website touts its status as a “collective,” and
announces that Meow Wolf “firmly believes
that accomplished artists must be
compensated on an equal level with other
skilled, in-demand professionals...” Oliver's
Complaint further states causes of action for
violation and threatened violation of the Vistual
Artists Rights Act (“VARA”), Copyright
Infringement, and Unjust Enrichment (among
other causes of action). The identity of
individuals involved with MW’s_ website is

 

 
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relevant to these claims.
In addition, the Court entered a Protective
Order [D.E. 56] related to any claimed
confidential information or records.

6: MW’s Response:

IDENTIFY all PERSONS who attended | Meow Wolf objects to this interrogatory

MEOW WOLF promotional or investor events,

including but not limited to any MEOW WOLF
“investor weekend,” and the grand-opening
“Gala” that occurred on or around March 16,
2016.

because the identity, home addresses and
telephone numbers of every person who
attended any Meow Wolf “promotional” even
or investor event over a twelve-year period
has no relevance to any claim or defense in
this action. Meow Wolf further objects to this
interrogatory on the grounds that identifying all
persons who attended Meow Wolf promotional
or investor events would be unduly
burdensome, overly intrusive into the lives of
people with no connection to any issue in this
case, and the burden and expense of the
proposed discovery outweighs its likely
benefit. Meow Wolf further objects that the
phrase “promotional or investor events” is
vague and ambiguous.

Deficiency(ies):

MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case as
Olivers Complaint [D.E. 1] seeks (among
other relief) conveyance to Oliver of her
ownership interest in the Meow Wolf artists’
collective, to the extent title to that interest still
rests with Defendants. Attendees to
promotional or investor events, including but
not limited to any MEOW WOLF “investor
weekend,” and the grand-opening “Gala” that
occurred on or around March 16, 2016, are
witnesses to MW representations and/or offers
to investors, and their identities are relevant to
Oliver’s claims.

In addition, the Court entered a Protective
Order [D.E. 56] related to any claimed
confidential information or records.

 

 

 

MW’s Response:

 

 
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IDENTIFY all PARTICIPATING ARTISTS.

 

Meow Wolf objects that this interrogatory is
overbroad because the names and home
addresses and telephone numbers of every
artist who has contributed to the extensive
House of Eternal Return are not relevant to
any claim or defense in this action and not
likely to lead to admissible evidence. Meow
Wolf further objects that identifying them all
would be unduly burdensome and _ not
proportional to the needs of the case.

Meow Wolf objects that this interrogatory is
overbroad because many potentially
responsive names would be entirely irrelevant
to this lawsuit and not likely to lead to
admissible evidence. Meow Wolf further
objects to this interrogatory on the grounds
that identifying all participating artists (as that
term is defined in plaintiffs interrogatories)
would be unduly burdensome and the burden
and expense of the proposed discovery
outweighs its likely benefit.

Deficiency(ies):

MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case as
Oliver's Complaint [D.E. 1] seeks (among
other relief) conveyance to Oliver of her
ownership interest in the Meow Wolf artists’
collective, to the extent title to that interest still
rests with Defendants. “PARTICIPATING
ARTIST(s)” is defined in Oliver's Discovery
Requests as “any PERSON that contributed
copyrightable works of art to the HoER as
more fully described in the COMPLAINT,
including but not limited to paragraphs 14, 21,
23, 25, 40, and 47.” The identity of these
artists is relevant to Oliver's copyright claims
(among others).

In addition, the Court entered a Protective
Order [D.E. 56] related to any claimed
confidential information or records.

 

 
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Oliver’s Request for Production No.:

and

MW’s Discovery
Deficiency(ies):

Responses

 

5:

All DOCUMENTS CONCERNING national and
international impacts, impressions, and
viewings of the DOCUMENTARY and/or any
trailer for the DOCUMENTARY.

MW’s Response:

Meow Wolf objects to this request on the
grounds that documents concerning persons
who have viewed the documentary or trailer
for it seeks information not relevant to any
claim or defense. Meow Wolf further objects
that the request is overbroad and unduly
burdensome and the burden and expense of
producing the requested documents would
vastly outweigh the likely benefit. Meow Wolf
further objects to this request on the grounds
that “national and international impacts” and
“impressions” is vague and ambiguous,
leaving unclear what type of documents
plaintiff actually seeks.

Deficiency(ies):

MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case. The
number of persons who have viewed the
documentary or trailer for it is relevant to
Oliver’s copyright violation claims as Oliver's
work was depicted in both.

 

 

6:

All DOCUMENTS transmitted by MEOW
WOLF to any prospective investor, including,
but not limited to, advertisements, information
packets, brochures, informational e-mails,
websites, prospectuses, financial disclosures,
asset lists, online funding pages/solicitations,
including, but not limited to,
https://www.wefunder.com.

 

MW’s Response:

Meow Wolf objects to this request on the
grounds that by calling for the production of all
documents transmitted to prospective
investors without limiting the request to
documents referred or relating to Plaintiff's
work, the request seeks information not
relevant to any claim or defense. Meow Wolf
further objects that the request is overbroad
and unduly burdensome and calls for
documents that have no relationship or
relevance to this action, and the burden and
expense of producing the requested
documents would vastly outweigh the likely
benefit.

Deficiency(ies):

 

 
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MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case as
Oliver's Complaint [D.E. 1] seeks (among
other relief) conveyance to Oliver of her
ownership interest in the Meow Wolf artists’
collective, to the extent title to that interest still
rests with Defendants and documents
transmitted to prospective investors are
relevant to this claim.

 

t:

All COMMUNICATIONS | between
WOLF and TEA.

MEOW

MW’s Response:

Meow Wolf objects to this request on the
grounds that by calling for the production of all
communications between Meow Wolf and
Themed Entertainment Association without
limiting the request to communications
concerning Plaintiff or her work, the request
seeks information not relevant to any claim or
defense. Meow Wolf further objects that the
request is overbroad and unduly burdensome
and calls for documents that have no
relationship or relevance to this action.

Deficiency(ies):

MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case. Oliver's
Complaint [D.E. 1] defines TEA as “the
Themed Entertainment Association and its
Themed Entertainment Awards as more fully
described in the COMPLAINT, including but
not limited to paragraph 56.” Paragraph 56 of
Oliver's Complaint [D.E. 1] states “Examples
of such usage include using the Space Owl
image in advertising, social media posts, and
to represent Meow Wolf at the Themed
Entertainment Association (“THEA”) Awards. A
copy of Meow Wolf's THEA Awards web page
is attached hereto as Exhibit E.” MW’s
communications with TEA are relevant to
MW’s use of Oliver’s work and the value of
same.

 

 

11:

All DOCUMENTS CONCERNING any contract

 

MW’s Response:

Meow Wolf objects to this request on the

 

 
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and/or agreement between MEOW WOLF and
any PARTICIPATING ARTIST between
January 1, 2014 and June 3, 2019, including,
but not limited to the contracts or agreements
themselves, drafts, and COMMUNICATIONS
CONCERNING any contract and/or
agreement.

grounds that by requesting all documents
related to other artists’ communications and
agreements with Meow Wolf that are not
related to plaintiff or her work over a more than
five year period are unduly burdensome and
encompass information irrelevant to the claims
or defenses in this action. Meow Wolf further
objections to the request on the grounds that
the burden and expense responding to the
request likely outweighs the benefit of any
such production. Meow Wolf further objects to
the request on the grounds that it seeks
extensive personal or confidential information
about persons not parties to this litigation that
Ms. Oliver does not need in order to prosecute
her lawsuit.

Deficiency(ies):

MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case as
Olivers Complaint [D.E. 1] seeks (among
other relief) conveyance to Oliver of her
ownership interest in the Meow Wolf artists’
collective, to the extent title to that interest still
rests with Defendants and contracts and/or
agreements with other PARTICIPATING
ARTISTS are relevant to this claim.

In addition, the Court entered a Protective
Order [D.E. 56] related to any claimed
confidential information or records.

 

 

12:

DOCUMENTS sufficient to verify the gross
revenue MEOW WOLF realized from HoER,
from March 16, 2016 to the present, including,
without limitation, revenue from ticket sales,
events, bar/café sales, gift shop sales, online
sales, content sales, and licensing proceeds.

 

MW’s Response:

Meow Wolf objects to this request on the
grounds that it is overbroad, unduly
burdensome, and seeks’ information far
beyond what is relevant to the claims or
defenses in this action. Meow Wolf further
objects that the request for documents
concerning all proceeds derived by Meow Wolf
over a period of more than 4 years including
revenue wholly unrelated to plaintiff's work
would impose a burden that outweighs any
likely benefit, is not proportional to the needs
of the case, and is intrusive and harassing.

 

 
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Deficiency(ies):

MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case as
Oliver's Complaint [D.E. 1] seeks (among
other relief) conveyance to Oliver of her
ownership interest in the Meow Wolf artists’
collective, to the extent title to that interest still
rests with Defendants and MW’s_ gross
revenue from HoER after Oliver's involvement
and installation of her work is relevant to this
claim.

In addition, the Court entered a Protective
Order [D.E. 56] related to any claimed
confidential information or records.

 

 

14:

DOCUMENTS _ sufficient to identify all
PERSONS who held any interest in MEOW
WOLF from January 1, 2008 to the present.

 

MW ’s Response:

Meow Wolf objects to this request on the
grounds that documents concerning | all
persons who held any interest in Meow Wolf
over nearly a thirteen-year period have no
relevance to any claim or defense in this
action. Meow Wolf further objects to this
request on the grounds that producing all
documents that identify all persons who held
any interest in Meow Wolf over this extensive
time period would be unduly burdensome,
overly intrusive into the lives of people with no
connection to any issue in this case, and
harassing. Meow Wolf further objects to the
request on the grounds that the burden and
expense of the proposed discovery outweighs
its likely benefit.

Deficiency(ies):

MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case as
Oliver’s Complaint [D.E. 1] seeks (among
other relief) conveyance to Oliver of her
ownership interest in the Meow Wolf artists’
collective, to the extent title to that interest still
rests with Defendants. Documents sufficient

 

 
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to identify those with an interest in MW are
relevant to this claim.
In addition, the Court entered a Protective
Order [D.E. 56] related to any claimed
confidential information or records.

15: MV's Response:

DOCUMENTS sufficient to establish how each
PERSON identified in the immediately
preceding Request No. 14 acquired their
interest, the investment made to acquire each
such interest, and the amount of money
received by each such PERSON upon
alienation of any portion of their interest.

 

Meow Wolf objects to this request on the
grounds that documents establishing the
identity of each person held any interest in
Meow Wolf over a nearly thirteen-year period
are unduly burdensome and are not relevant
to any claim or defense in this action. Meow
Wolf further objects to this request on the
grounds that documents identifying how all
persons who held any interest in Meow Wolf
over this extensive time period acquired their
interest, for what amount of money, and how
much money they received upon selling such
interest would be unduly burdensome,
exceedingly intrusive into the lives of people
with no connection to any issue in this case,
and not proportional to the needs of the case.
Meow Wolf further objects to the request on
the grounds that the burden and expense of
the proposed discovery outweighs its likely
benefit.

Deficiency(ies):

MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case as
Oliver's Complaint [D.E. 1] seeks (among
other relief) conveyance to Oliver of her
ownership interest in the Meow Wolf artists’
collective, to the extent title to that interest still
rests with Defendants. Documents regarding
how individual acquired their interest in MW,
the investment made to acquire each such
interest, and the amount of money received by
each such individual upon alienation of any
portion of their interest are relevant to this
claim.

In addition, the Court entered a Protective

 

 
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Order [D.E. 56] related to any claimed
confidential information or records.

16: MW’s Response:

All DOCUMENTS CONCERNING the removal
of any copyrightable work from HoER.

 

Meow Wolf objects to this request on the
grounds that by calling for the production of all
documents concerning removal of any
copyrightable work from the entire House of
Eternal Return without limiting the request to
Plaintiff's work, the request seeks information
not relevant to any claim or defense. Meow
Wolf further objects that the request is
overbroad and unduly burdensome and calls
for documents that have no relationship or
relevance to this action.

Deficiency(ies):

MW fails to provide any substantive response.
The requested information is relevant and
proportional to the needs of the case. Oliver's
Complaint [D.E. 1] states causes of action for
violation and threatened violation of VARA,
Copyright Infringement, breach of the
covenant of good faith and fair dealing, and
misrepresentation (among other causes of
action).

 

Please provide your position regarding the deficiencies identified herein by close of business on

January 22, 2021.

If needed, we intend to move to compel regarding these deficiencies by the Court's anticipated

February 10, 2021 deadline. [D.E. 66].
Let us know if you wish to discuss.
Very truly yours,

ERICKSEN ARBUTHNOT

ANDREW J. CHAN
JAB/AJClajc

 
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EXHIBIT H
PO BOX 1808 SANTA FE NM 87504

BARDACKE ALLISON LLP

8000

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BARDACKEALLISON.COM

141 E PALACE AVENUE SANTA FE NM 87501

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ALLISON

January 22, 2021
Via email to:

Andrew Chan

Ericksen Arbuthnot

2300 Clayton Road, Suite 350
Concord, CA 94520
achan@ericksenarbuthnot.com

Meow Wolf's Discovery Responses
Dear Mr. Chan,

We received your letter of January 12, 2021 and write to address each of your
concerns about Meow Wolf's discovery responses.

Interrogatories 1, 2, and 6, and Requests for
Production 6, 11, 14, and 15 Are Not Relevant In Light of

the Court’s November 25, 2020 Memorandum Opinion and Order

You argue that Interrogatories 1, 2, and 6 and Requests for Production 6, 11, 14, and
15 is relevant because Ms. Oliver seeks “conveyance of her ownership interest in the
Meow Wolf artists’ collective.” Since discovery was served, Ms. Oliver’s claims in this
matter have been narrowed. The Court’s order of November 25, 2020 eliminated the
remedy from the case. See Doc. 59 at 14 (“[T]he Court does not mean to suggest that
Plaintiff could recover the value of the ownership interest and revenue share she
claims she was promised... .”). You have made no effort to show relevance of these
requests given the new reality that Ms. Oliver’s claim for an ownership share has been
held as a matter of law cannot be recovered.

Even if the requests were relevant, they are still overly broad and the burden of
producing the requested information and documents are not proportional to the
needs of the case. See, e.g., Interrogatories 1 and 2, and Requests 14 and 15
(requesting information and documents about all persons who have at various times
held an ownership interest in Meow Wolf over a more than 12-year period);
Interrogatory 6 and Request 6 (seeking information concerning persons who
attended investor meetings and all documents received by prospective investors,
whether or not those persons invested in Meow Wolf, and with no time limitation).

HMOVddVa
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Andrew Chan
January 22, 2021
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If you feel any of these requests interface with a surviving issue in the case, we are
interested to hear why and see how you would narrow the requests to only the
relevant issues.

Interrogatories 3 and 7 and Request for
Production 7 are Overly Broad As Written

You do not dispute that Interrogatories 3 and 7 and Request for Production 7 are
overly broad as written—instead you claim the requests are “proportional to the
needs of the case” without explaining why or how. Simply stating that the information
is relevant does not make it so.

In Interrogatory 3, you seek information concerning al! persons who developed or
updated Meow Wolf’s website, and justify the request because a very small portion
of the website allegedly provides that Meow Wolf is a “collective” that “firmly
believes that accomplished artists must be compensated on an equal level with other
skilled, in-demand professionals . . .” The identity of every person who worked on
Meow Wolf’s website, whether or not they participated in creating the copy for those
words on the site and explaining how their identities are relevant to Ms. Oliver’s claim
reflects how overly broad and burdensome the requests are, and have no conceivable
bearing on any claim or defense in this matter.

You claim in Interrogatory No. 7 that the identities of more than 200 artists who
participated in creating HoER is relevant for two reasons: first, because it is allegedly
relevant to Ms. Oliver’s “ownership interest” in Meow Wolf, and second that it is
allegedly relevant to Ms. Oliver’s copyright claims. As provided in the Court’s
November 25, 2020 Memorandum Opinion and Order, Ms. Oliver no longer has a
claim for an ownership interest in Meow Wolf, and as such her requests aimed at this
information are not relevant. See Doc. 59 at 14. You also provide no basis for your
bare assertion that the information is relevant to Ms. Oliver’s copyright claim—
neither expressing why or how the information would further Ms. Oliver’s copyright
claim.

In Request No. 7, you seek all communications between Meow Wolf and Themed
Entertainment Association. This request is also overly broad because they are not tied
to communications concerning Ms. Oliver or her work.

If you would like to narrow these requests to make clear what specific information
you seek that is relevant to any surviving claim or defense in the case, we are glad to
consider them and supplement our responses as appropriate.

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Andrew Chan
January 22, 2021
Page 3

Request for Production 5, 12, and 16 Are Not Relevant,
Overly Broad, and Disproportional to the Needs of the Case

You state that your Request for Production 5 seeking all documents about national
and international impacts, impressions, and viewings of a documentary is relevant to
Ms. Oliver’s claim for copyright infringement without stating why or how such
information is relevant. A request for “all documents” concerning a broad subject,
here a documentary, where Ms. Oliver’s work was not featured prominently, is
irrelevant, disproportional to the needs of the case and would require production of
potentially vast amounts of information, most of which would not relate to Ms.
Oliver’s work.

In Request for Production 12 Ms. Oliver seeks documents to verify all of Meow Wolf’s
gross revenue from the House of Eternal Return. Ms. Oliver’s operative claims are not
prefaced on Meow Wolf’s sales of admission tickets, and the Court has eliminated the
remedy of an ownership interest or revenue share from the case. Thus, a general
request for Meow Wolf’s total earnings relating to HoER is irrelevant and overly
broad.

Request for Production 16 seeking all documents concerning the removal of any
copyrightable work from HOoER is also overly broad—the language “removal of any
copyrightable work” would cover everything from disposal of damaged materials to
throwing away old promotional posters. It may be that the information you actually
seek is narrower than the request you made, but you have not provided a limiting
principle tied to any issue in the case.

If you would like to narrow these requests to make clear what specific information
you seek that is relevant to any surviving claim or defense in the case, we are glad to
consider them and supplement our responses as appropriate.

We also disagree that Meow Wolf’s general objections are improper. Use of general
objection is ubiquitous practice in New Mexico civil litigation and not forbidden by
any rule or law. Our general objections were limited to those matters that apply to
each request. If there is any specific application of a general objection to a request
that you contend does not fit, we will be happy to discuss.

As you are aware, Meow Wolf has engaged in a rolling production since early
September and has served more than 11,000 pages of documents. Meow Wolf
intends to supplement its production on or before the first week of February to serve
additional responsive documents.

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Andrew Chan
January 22, 2021
Page 4

We look forward to speaking with you on Monday to determine whether we can come
to an agreement on the appropriate scope of Ms. Oliver’s discovery requests.

Very truly yours,

Broamna, (ortronas

Breanna Contreras

SCF
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EXHIBIT |
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From: Breanna Contreras
To: Jesse Boyd; Ben Allison
Ce: Andrew Chan; Vince Ward; David Harrigan; Penny Peterson
Subject: RE: Oliver v. Meow Wolf; Discovery Meet-and-Confer
Date: Wednesday, February 3, 2021 3:41:06 PM
Attachments: image002.png
image003.ong
Dear Jesse,

Thank you for your email summary below.

With respect to Interrogatory No. 3 concerning “all persons who develop[ed any aspect of, and/or
updated Meow Wolf's website since January 1, 2014,” during our call we discussed narrowing the
request to some reasonable parameter other than every person who had anything to do with Meow
Wolf's website over the course of 6 years whether or not their involvement with the website has
anything to do with this matter, which appears to us to be facially overbroad. I’ve spoken with my
client and we can provide the name or names of persons who had primary responsibility for
developing and updating Meow Wolf's website, but it would likely be very difficult to track down
each person (some of whom may have been contractors) who may have assisted in developing
Meow Wolf’s website over such a long period of time. Please let us know if you would accept our
offer to identify the persons with primary responsibility for developing and updating Meow Wolf's
website during that period.

With respect to Interrogatory No. 7 concerning the identity of “all Participating Artists,” which is
defined as “any person that contributed copyrightable works of art to the [House of Eternal
Return],” we told you that it would be very difficult for us to identify who we believed may have
contributed copyrightable works, but that we would agree to supplement our answer to point you to
Meow Wolf's website which provides a credits page detailing more than 400 persons who had a role
in creating HoER, and to refer to one or more documents in Ms. Lesta’s production in response to
your subpoena which contains the names of artists who contributed to HoER. We do not believe
Meow Wolf’s agreements with all other artists who contributed copyrightable works of art to the
House of Eternal Return (RFP No. 11) are relevant to any claim or defense in this matter.

My client is in the process of searching for and gathering what information it can regarding sales and
distribution data related to the Meow Wolf Origin Story documentary (RFP. No. 5), and its
communications with Themed Entertainment Association prior to receiving and related to the THEA
Award for Outstanding Achievement which was given to MW in 2017 (RFP No. 7). We will let you
know whether communications with TEA is unreasonably voluminous so as to create an undue
burden to produce.

We look forward to receiving your list of instances of removal of works from HoER related to your
RFP No. 16, and the basis for those works’ removal being relevant to Ms. Oliver’s claims. Once we
receive that list and your explanation for how they are relevant to the claims or defenses in this
matter, we will consider supplementing our response to RFP No. 16.

Thank you,
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Breanna

Breanna Contreras
B Bardacke Allison LLP

\ bardackeallison.com
+1505 995 8000

   

From: Jesse Boyd <jboyd@ericksenarbuthnot.com>

Sent: Thursday, January 28, 2021 10:51 AM

To: Ben Allison <ben@bardackeallison.com>; Breanna Contreras <breanna@bardackeallison.com>
Cc: Andrew Chan <achan@ericksenarbuthnot.com>; Vince Ward <vjw@fbdlaw.com>; David Harrigan
<djh@fbdlaw.com>; Penny Peterson <ppeterson@ericksenarbuthnot.com>

Subject: Oliver v. Meow Wolf; Discovery Meet-and-Confer

Good day Ben and Breanna,

Thank you for taking the time to talk on Monday regarding Meow Wolf's responses to Oliver’s first
interrogatories and requests for production. | will do my best to summarize our discussion with this
email.

During the discussion | took the position that a response to Special Interrogatories 1 and 2, and
Request for Production 14 and 15 related to the identification of Meow Wolf's owners over time
were calculated to lead to the discovery of admissible evidence regarding Oliver’s claims in that she
reasonably understood Meow Wolf to be a collective beginning in 2008, which status was reiterated
by Defendants up through installation at HOER and beyond, and that information related to how the
Meow Wolf Collective was converted to a private, for-profit venture purportedly owned by
particular individuals goes directly to Oliver’s claims for breach of contract, bad faith,
misrepresentation, and unjust enrichment. You responded that Meow Wolf believes the
information sought was not relevant to any claim given the court’s ruling on Meow Wolf's motion to
dismiss. We are at an impasse as to these discovery requests.

As to Interrogatory 6 and RFP 6 related to the identity of investors and documents provided to
investors, | argued that the information sought was reasonably calculated to lead to the discovery of
admissible evidence for multiple claims, including misrepresentation and unjust enrichment in that,
upon information and belief, Defendants presented HoER as their own, including Oliver’s work,

which in turn was used to increase the value of Meow Wolf to their benefit under circumstances
where the retention of that benefit would be unjust. The witnesses and documents sought in the
requests should have information directly relevant to that (and other) issues in the case in that they
will likely have information confirming (or refuting) Oliver’s understanding of the basic facts
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underlying this case. You stated the requests were overbroad and would require disclosure of
investments and ownership interests up through today and again asserted relevance as a basis for
non-response. We are at an impasse as to these discovery requests.

Interrogatory 3 concerns persons responsible for developing and updating Meow Wolf's website.
Such persons may have information related to the posting and use of images of Oliver’s work over
time, and archived versions of Meow Wolf's web page, which may contain admissions by Meow Wolf
relevant to the instant lawsuit (e.g. touting itself as a collective, statements regarding sharing Meow
Wolf’s success with members of the collective/artists, etc.), Meow Wolf believes the request is
overbroad and has refused to answer. Oliver believes it is a reasonable request for the identification
of potential witnesses and a good-faith response is appropriate. We will proceed on the assumption
we are at an impasse as to Interrogatory #3 unless you inform us otherwise.

We have agreed that you will provide an amended response to Interrogatory 7 related to the
identity of participating artists. However, you will not provide any contracts with those artists as
requested by RFP 11. | explained Meow Wolf’s contracts with other artists, before, during, and after
installation of HOER would be relevant to Oliver’s breach of contract and bad faith claims (evidence
shows Meow Wolf actively avoided addressing contractual issues with Oliver prior to installation),
and may well include information relevant to her misrepresentation and unjust enrichment claims.
In addition, the contracts can be used to identify potential witnesses. | believe you stated the
contracts are not relevant to Oliver’s case. We are at an impasse as to RFP 11.

| believe you have agreed to provide available sale and distribution data in response to RFP 5 related
to the Meow Wolf Origin Story documentary and associated trailer. Please let me know if my notes
are incorrect on this.

As to RFP 7, we agreed that Meow Wolf will provide communications with TEA in its possession,
custody, or control related to the THEA Award for Outstanding Achievement — Connected Immersion
ona Limited Budget which was given to MW in 2017, and MW communications prior to that award,
unless it appears prior communications are unreasonably voluminous.

As to RFP 16, we will forward a list of particular instances of removal of work from HoER of which
Oliver is aware, which you will assess and respond to. Parties will continue to meet-and-confer as to
RFP 16.

Thank you again for your time and attention to this. Let me know if any of the above does not
conform with your understanding. | look forward to connecting with you again soon.

Best,
Jesse
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JESSE A. BOYD
46). Partner
2300 Clayton Road, Suite 350

E RICKSEN Concord, CA 94520

Ca Telephone: (510) 832-7770, ex. 103
A RBUTHNOT _ Cell: (505) 620-9520
Attorneys at Law Facsimile: (510) 832-0102

Email: jboyd@ericksenarbuthnot.com
Website: www.ericksenarbuthnot.com

Due to the “shelter in place” policy that is currently in effect for many of the counties serviced by
our Firm, | am working from home. We do not know how long the policy will be in effect. While | am
working from home, | will have unlimited access to my emails. You can also reach me by phone at
the main number below at extension 103. Your call will be routed directly to me or my voicemail if |
am unavailable.

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EXHIBIT J
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From: Jesse Boyd
To: Breanna Contreras; Ben Allison
Ce: Shelby Spoonhoward; Penny Peterson; Andrew Chan; Vince Ward
Subject: RE: Oliver v. Meow Wolf; Meet and confer on Revenue Data; Specific instances of Removal of Art
Date: Friday, February 12, 2021 11:30:00 AM
Attachments: image001.pna
i e002.pn
Hi Breanna,

Meow Wolf threatened to remove ISQ from HoER if Lauren didn’t accept what we believe to be
unconscionable terms. This, in part, underlies Oliver's claim for injunctive relief under VARA, and is
clearly laid out in the complaint and Lauren’s discovery responses. Sarah Bradley’s Rabbit and Billy
Joe Miller’s Chapel were actually removed from HoER, and the circumstances of those removals is
directly relevant to this claim, and we believe likely relevant to Oliver’s bad faith claim. Unless | hear
otherwise, I'll continue to assume we are at an impasse on this issue.

Best,
Jesse

. JESSE A. BOYD
+6). Partner
2300 Clayton Road, Suite 350
E RICKSEN Concord, CA 94520

Wan ee Telephone: (510) 832-7770, ex. 103
ARBUTHNOT cell: (505) 620-9520

Attorneys at Law Facsimile: (510) 832-0102
Email: jboyd@ericksenarbuthnot.com

Website: www.ericksenarbuthnot.com

Due to the “shelter in place” policy that is currently in effect for many of the counties serviced by
our Firm, |am working from home. We do not know how long the policy will be in effect. While | am
working from home, | will have unlimited access to my emails. You can also reach me by phone at
the main number below at extension 103. Your call will be routed directly to me or my voicemail if |
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or information therein, and delete all copies of this communication. Thank you.

From: Breanna Contreras <breanna@bardackeallison.com>

Sent: Thursday, February 11, 2021 4:31 PM

To: Jesse Boyd <jboyd@ericksenarbuthnot.com>; Ben Allison <ben@bardackeallison.com>
Cc: Shelby Spoonhoward <Shelby@bardackeallison.com>; Penny Peterson
Case 1:20-cv-00237-KK-SCY Document 78 Filed 02/24/21 Page 86 of 91

<ppeterson @ericksenarbuthnot.com>; Andrew Chan <achan@ericksenarbuthnot.com>; Vince Ward
<vjw@fbdlaw.com>

Subject: RE: Oliver v. Meow Wolf; Meet and confer on Revenue Data; Specific instances of Removal
of Art

Thanks for your quick response, Jesse.

| don’t understand how Meow Wolf's removal of another artist’s work would have any bearing on
Ms. Oliver's VARA claim, and her work has not been destroyed. | also don’t see how removal of other
works would have any bearing on Ms. Oliver’s contract or bad faith claims. | think we are at an
impasse unless we are better able to understand how any of this information would support any
claim or defense in this matter.

My best,
Breanna

Breanna Contreras
B Bardacke Allison LLP
\ bardackeallison.com

+1505 995 8000

 

      

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From: Jesse Boyd <jboyd@ericksenarbuthnot.com>

Sent: Thursday, February 11, 2021 5:25 PM

To: Breanna Contreras <breanna@bardackeallison.com>; Ben Allison <pen@bardackeallison.com>
Cc: Shelby Spoonhoward <Shelby@bardackeallison.com>; Penny Peterson
<ppeterson@ericksenarbuthnot.com>; Andrew Chan <achan@ericksenarbuthnot.com>; Vince Ward
<yjw@fbdlaw.com>

Subject: RE: Oliver v. Meow Wolf; Meet and confer on Revenue Data; Specific instances of Removal
of Art

 

Hi Breanna,

For one thing, removal of other work, and the circumstances surrounding that removal, goes to
Oliver’s VARA claim and potential destruction of her work. In addition, it would go to the underlying
contractual relations (or disputes) that Meow Wolf has had at HoER, which would be relevant to
Oliver’s contract and bad-faith claims.

Please let me know if we are at an impasse on RFP #16.
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Best,
Jesse

JESSE A, BOYD
6). Partner
2300 Clayton Road, Suite 350
E RICKSEN Concord, CA 94520
Wie Telephone: (510) 832-7770, ex. 103

ARBUTHNOT | Cell: (505) 620-9520

Email: jboyd@ericksenarbuthnot.com
Website: www.ericksenarbuthnot.com

Due to the “shelter in place” policy that is currently in effect for many of the counties serviced by
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From: Breanna Contreras <breanna@bardackeallison.com>

Sent: Thursday, February 11, 2021 4:15 PM

To: Jesse Boyd <jboyd@ericksenarbuthnot.com>; Ben Allison <ben@bardackeallison.com>

Ce: Shelby Spoonhoward <Shelby@bardackeallison.com>; Penny Peterson
<ppeterson@ericksenarbuthnot.com>; Andrew Chan <achan@ericksenarbuthnot.com>; Vince Ward
<vjw@fbdlaw.com>

Subject: RE: Oliver v. Meow Wolf; Meet and confer on Revenue Data; Specific instances of Removal
of Art

Hi Jesse—

I’m writing to respond to your Request for Production No. 16 concerning copyrightable works that
have been removed from HoER. We have analyzed your request for documents related to removal
of The Rabbit Room and Chapel, but those documents do not appear to us to be relevant to any
claim or defense in this matter. Can you provide us your position on why this information is relevant,
so that we can consider it and let you know if we will supplement our response to this request?

My best,
Breanna
Case 1:20-cv-00237-KK-SCY Document 78 Filed 02/24/21 Page 88 of 91

Breanna Contreras
) Bardacke Allison LLP
V bardackeallison.com
+1505 995 8000

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From: Jesse Boyd <jboyd@ericksenarbuthnot.com>
Sent: Tuesday, February 09, 2021 2:45 PM
To: Breanna Contreras <breanna@bardackeallison.com>; Ben Allison <ben@bardackeallison.com>
Ce: shelby Speonhoward <Shelby@bardackeallison.com>; Penny Peterson
;enarbuthnot.com>; Andrew Chan <achan@ericksenarbuthnot.com>; Vince Ward

 

<viw@fbdlaw.com>
Subject: RE: Oliver v. Meow Wolf; Meet and confer on Revenue Data; Specific instances of Removal

of Art

Hi Breanna,

We are ok with a mutual extension of time on motions to compel for 15 days (to February 25). | will
have a response to your letter out by the end of the week. We assume you will be preparing and
making the filings (I’ve attached the previous papers here for you to use).

As to revenue data, Lauren alleges (now under oath) that your clients promised a “revenue share”
tied to overall revenue, which promise underlies several of Lauren’s claims (contract, bad faith,
misrepresentation, unjust enrichment), and which our damages expert has requested for their
work. Let me know if you have second thoughts on this issue, but absent word to the contrary, we
will proceed on the assumption we remain at an impasse.

On another issue, the specific instances of art removal we are seeking information about at this
time, which would be responsive to Request for Production #16, are The Rabbit Room by Sarah
Bradley, and the Chapel by Billy Joe Miller. Please let us know if you will be producing responsive
documents concerning the removal of these installations.

Best,
Jesse
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JESSE A. BOYD
ff). Partner
2300 Clayton Road, Suite 350
FE RICKS EN Concord, CA 94520

Ca eee Telephone: (510) 832-7770, ex. 103

ARBUTHNOT | Cell: (505) 620-9520

Attorneys at Law Facsimile: (510) 832-0102
Email: jboyd@ericksenarbuthnot.com
Website: www.ericksenarbuthnot.com

Due to the “shelter in place” policy that is currently in effect for many of the counties serviced by
our Firm, | am working from home. We do not know how long the policy will be in effect. While | am
working from home, | will have unlimited access to my emails. You can also reach me by phone at
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From: Breanna Contreras <breanna f allison.c

Sent: Tuesday, February 9, 2021 12:05 PM

To: Jesse Boyd <jboyd@ericksenarbuthnot.com>; Ben Allison <ben@bardackeallison.com>

Ce: Shelby Spoonhoward <Shelby@bardackeallison.com>; Penny Peterson
<ppeterson@ericksenarbuthnot.com>; Andrew Chan <achan@ericksenarbuthnot.com>; Vince Ward
<vViw@ com>

Subject: RE: Oliver v. Meow Wolf; Meet and confer on Revenue Data; Specific instances of Removal
of Art

Hi Jesse,

Thank you for your email. | called you a short while ago to discuss this, Ms. Oliver’s production, and
Ms. Oliver’s deposition.

| believe we discussed RFP #12 by phone—as written, it is incredibly overbroad. If there are
particular revenue streams that are more reasonably tied to Ms. Oliver's claims (i.e. information
concerning income derived from specific instances of alleged infringement), we would be willing to
consider supplementing our response. But without reasonable parameters on the request, we do
not think the Court will compel us to provide this information.

My client is still in the process of gathering responsive documents and information that we agreed in

our email of February 3 to search for and produce. We also want to know whether Ms. Oliver has
withheld any responsive documents on the basis of her objections, to confirm she has produced all
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responsive documents in her custody, possession or control, and to obtain the emails she’s
produced in native file format. Please see our attached letter. | acknowledge that our letter to you is
last minute, and apologize for that, but the issues in it are simple and easily resolved.

Given that Meow Wolf is in the process of supplementing its responses and that you will not have
had a meaningful opportunity to discuss with Ms. Oliver the issues raised in our letter, we propose
one more extension of 15 or 30 days to allow Meow Wolf to supplement its responses and for you to
respond concerning Ms. Oliver’s document production.

Please let us know if you are amenable to that, and we will prepare a proposed motion and order for
your review.

My best,
Breanna

Breanna Contreras
B Bardacke Allison LLP
\ bardackeallison.com

+1505 995 8000

 

 

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From: Jesse Boyd <j @ericksenarbuthnot. com>
Sent: Tuesday, February 09, 2021 10:58 AM
To: Ben Allison <ben@bardackeallison.com>; Breanna Contreras <breanna@bardackeallison.com>

 

Cc: Shelby Spoonhoward <Shelby@bardackeallison.com>; Penny Peterson
<ppeterson@ericksenarbuthnot.com>; Andrew Chan <achan@ericksenarbuthnot.com>; Vince Ward

<viw@fbdlaw.com>
Subject: Oliver v. Meow Wolf; Meet and confer on Revenue Data; Specific instances of Removal of
Art

Good day Ben and Breanna,

While it was addressed in Andrew’s letter, we did not discuss or exchange positions on RFP #12
concerning revenue information in subsequent communications. | am proceeding on the
assumption that we are at an impasse on that request, unless you inform me otherwise.

Stay well.

Best,
Jesse
Case 1:20-cv-00237-KK-SCY Document 78 Filed 02/24/21 Page 91 of 91

JESSE A. BOYD
46). Partner
2300 Clayton Road, Suite 350
gt RICKSE No Concord, CA 94520
Care

Telephone: (510) 832-7770, ex. 103
ARBUTHNOT | Cell: (505) 620-9520
Attorneys at Law Facsimile: (510) 832-0102
Email: jboyd@ericksenarbuthnot.com

Website: www.ericksenarbuthnot.com

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